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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION




    UNITED STATES OF AMERICA

    v.                                                 CASE NO. 8:07-cr-99-T-23TBM

    JOSE ANTONIO GOVEA-ZARAGOZA
    ________________________________/


                                             ORDER

          After pleading guilty to counts one and two of the indictment, Govea-Zaragoza

    was sentenced to two concurrent terms of two hundred thirty-five months' imprisonment.

    The judgment (Doc. 251) was entered September 14, 2007. Govea-Zaragoza's Section

    2255 motion (Doc. 328) was dismissed as premature on October 31, 2007 (Doc. 336).

    The Eleventh Circuit's mandate (Doc. 484) affirming Govea-Zaragoza's sentence issued

    March 10, 2009.

          Govea-Zaragoza moves (Doc. 507) for an order directing former defense counsel

    to "surrender to the Petitioner the defense file maintained by him with regard to the

    above-referenced criminal action" so that Govea-Zaragoza "may assess the feasibility

    of presenting a collateral attach upon the conviction and/or sentence." United States v.

    Warmus, 151 Fed. Appx. 783, 787 (11th Cir. 2005), states:

          When a prisoner has not filed a motion to vacate his sentence, however,
          the "prisoner is not entitled to obtain copies of court records at the
          government's expense to search for possible defects merely because he is
          indigent." United States v. Herrera, 474 F.2d 1049, 1049 (5th Cir. 1973);
          Skinner v. United States, 434 F.2d 1036, 137 (5th Cir. 1970). These cases
          dealt only with documents in the possession of the court, and Warmus
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          seeks documents from the government and his attorney. Nevertheless, the
          cases are analogous to Warmus's case because Warmus does not point to
          a specific legal filing for which he needs the documents and, thus, it
          appears that he is attempting to "search for possible defects" at
          government expense. See Herrera, 474 F.2d at 1049.

     See also United States v. Lewis, 37 F.3d 1510 (table), 1994 WL 563442 (10th Cir.

    1994); Walker v. United States, 424 F.2d 278 (5th Cir. 1970); United States v.

    MacCollom, 426 U.S. 317, 96 S. Ct. 2086 (1976). Accordingly, the motion for an order

    directing counsel to surrender the defense file is DENIED.

          ORDERED in Tampa, Florida, on December 28, 2010.




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